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      The relief described hereinbelow is SO ORDERED.



      Signed June 15, 2021.

                                                                __________________________________
                                                                       H. CHRISTOPHER MOTT
                                                                UNITED STATES BANKRUPTCY JUDGE
      ________________________________________________________________

                             UNITED STATES BANKRUPTCY COURT
                                    Western District of Texas
                                      EL PASO Division
IN RE: Nohemi Chico , Debtor(s)                                              Case No.: 15−31885−hcm




                                ORDER AUTHORIZING PAYMENT
                               OF A DIVIDEND UNCLAIMED FUNDS
On this date came on for consideration the Application for Payment Of A Dividend From Unclaimed Funds by:

                   NAME:                    Dilks & Knopik
                   ADDRESS:                 As assignee to Estate of Mary Dulanto
                                            35308 SE Center Street
                                            Snoqualmie, WA 98065

Claimant, for payment of a dividend from unclaimed funds in the amount of $39601.25. It appearing to the Court that
the said claimant is entitled to receive payment of the dividend in the amount stated above, and

    that said funds now on deposit in the United States Treasure, and that notice of the Application was given to the
    United States Attorney

It is ORDERED that the Clerk of Court direct issuance of a draft upon the United States Treasury in the amount
stated above, payable to this claimant.

   Verification of Funds dated:06/15/2021 by Finance Dept.
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